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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

  TAFT MANZOTTI,
  and All Others Similarly Situated
                              Plaintiffs


         VS.                                                 C.A. No. 13-795M

  THE CITY OF PROVIDENCE,
  JORGE O. ELORZA,
  in his capacity as Mayor of the
  City of Providence, and
  JAMES LOMBARDI, III, in his capacity
  as the Treasurer of the City of Providence
                               Defendants


                                  DISMISSAL STIPULATION

          Plaintiffs voluntarily dismiss the Amended Complaint filed in the above-captioned matter,
  with prejudice, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). No interest or costs
  shall apply.

  Plaintiffs,                                         Defendants,
  Taft Manzotti and All Others                        By their Attorneys,
  Similarly Situated,
  By their Attorneys,

  /s/ William J. Conley, Jr.                         /s/ Kevin F. McHugh
  /s/ Gina Renzulli Lemay                            /s/ Steven B. Nelson
  _____________________                              __________________________
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  Dated: February 18, 2020
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                                  CERTIFICATE OF SERVICE

          I hereby certify that this document, filed through the CM/ECF system, will be
  electronically sent to the registered participants as identified on the Notice of Electronic Filing
  (NEF) and paper copies will be sent to those indicated as non-registered participants on February
  18, 2020.

                                                       /s/ Gina Renzulli Lemay
                                                       Gina Renzulli Lemay, Esq.
